                            Case 5:21-cv-00543-PRW Document 19 Filed 04/05/22 Page 1 of 2
                                                  IN THE UNITED STATES DISTRICT COURT
                                                    WESTERN DISTRICT OF OKLAHOMA

                      OKSp^ LLC^^-^a{.
            Plaintiff(s),

V.                                                                             Case No. CIV- f~S^3-p^uJ
                                                                               JANUARY 2023 TRIAL DOCKET
            Defen(lant(s).

                                                              SCHEDULING ORDER


Date:                          Time:         to                   Judge Patrick R. Wvrick           Clerk: Kathv Spaulding

 Appearing for Plaintiff(s):
 Appearing for Defendant(s):           CdW«r4-
                                                     Jjury Trial Demanded -
                                                   (3Ju                            □Non-Jury Trial

                                       THE FOLLOWING DEADLINES ARE SET BY THE COURT


 NOTE: Except as otherwise speciflcally ordered by the assigned judge, this case will not be scheduled for a Judicial settlement conference
 unless, not later than ten (10) days after the trial docket is published, the parties file a Joint motion requesting a Judicial settlement conference.
 The motion shall contain a certification by counsel that the parties have been advised of the motion and approve its filing. The motion shall
     further describe in detail the settlement efforts made and disoute resolution techniaues oreviouslv used in the case.


1.     Motions to join additional parties to be filed                          *The listing of witnesses and exhibits shall separately state
       30 days from date of this order.                                        those expected to be called or used and those which may
                                                                               be called or used if the need arises. Except for good cause
2.     Motions to amend pleadings to be filed                                  shown, no witness will be permitted to testify and no
       30 days from date of this order.                                        exhibit will be admitted in any party's case in chief unless
                                                                               such witness or exhibit is included in the party's filed
3.     (a) Plaintiff to file a final list of expert witness(es)                witness or exhibit list
       in chief and submit expert reports to defendant by
        11-01-2022.*                                                     6.    Discovery to be completed by 12-01-2022.
       (b) Defendant to file a final list of expert witness(es)
       in chief and submit expert reports to plaintiff by                7.    Daubert motions to be filed by 12-01-2022.
        11-11-2022.*
                                                                         8.    All dispositive motions to be filed by 11-01-2022.
4.     (a) Plaintiff to file a list of witnesses together with
       addresses and brief summary of expected testimony                       If the deadline for dispositive motions or Daubert motions
       where witness has not already been deposed by                           precedes the discovery deadline, the parties are expected to
        11-01-2022.*                                                           conduct any discovery necessary for such motions in advance
        (b) Defendant to file a final list of witnesses (as                    of the motion deadline.
        Described above) bv 11-11-2022.*
                                                                         9.    Trial Docket: JANUARY 2023 **
5.      (a) Plaintiff to file a final exhibit list by 11-01-2022.
       Defendant to file objections to the plaintiffs final                    **TriaI dockets generally begin the second Tuesday of
       exhibit list, under Fed.R.Civ.P. 26(a)(3)(B), within                    each month; however, this practice varies, particularly
       (14) fourteen days thereafter.                                          durnig holidays. The published trial docket will
       (b) Defendant to file exhibit list by 11-11-2022.                       announce the trial setting.
       Plaintiff to file objections to the defendant's final
       exhibit list, under Fed.R.Civ.P. 26(a)(3)(B), within
       (14) fourteen days thereafter.
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